AO 441 (Rev. 02/09) Summons on Third-Party Complaint - MIWD (Rev. 07/15)
               Case 1:21-cv-00910-JMB-PJG ECF No. Print/Publish
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                                                                               Save As... Page 1 of 1                                                                                 Reset

                                         SUMMONS ON THIRD-PARTY COMPLAINT
                              UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                              Power Home Solar, LLC                                                                           Case No. 1:21-cv-00910
                                           Plaintiff
                                              v.                                                                              Hon. Jane M. Beckering
    Orbit Marketing LLC (D/B/A Climax Solar); and Josh Thompson
                                                                                                              TO: Caleb Scribner
                                                                                                         ADDRESS: 563 Plains Road
                                Defendant, Third-Party Plaintiff
                                              v.
                                                                                                                          Harrison, ME 04040
                                    Caleb Scribner

                                    Third-Party Defendant


A lawsuit has been filed against defendant, who as third-party plaintiff is making this claim against you to pay part or all of what the
defendant may owe to the plaintiff.
Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you are the United States or a
United States agency, or an officer or employee of the United States as described in Fed. R. Civ. P. 12(a)(3) - you must serve on the plaintiff
and on the defendant an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the defendant or defendant’s attorney and must also be served on the plaintiff or plaintiff’s attorney. If you fail to
respond, judgment by default will be entered against you for the relief demanded in the third-party complaint. You must also file your
answer or motion with the Court, whose divisional office addresses are indicated below. A copy of the plaintiff’s complaint is also attached.
You may -but are not required to - respond to plaintiff’s original complaint.
                                                                         CLERK OF COURT
     399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
     P.O. Box 698, 330 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

DEFENDANT/3RD PARTY PLAINTIFF OR ATTORNEY NAME & ADDRESS
Andrew Cascini
Henn Lesperance PLC
32 Market Ave SW #400
Grand Rapids, MI 49503
PLAINTIFF OR ATTORNEY NAME & ADDRESS                                                                                                                                         Insert Today's Date
 Conor B. Dugan
 Warner Norcross + Judd LLP
 150 Ottawa Avenue, Suite 1500
 Grand Rapids, MI 49503
                                                                                                         By:                                                                     June 22, 2022
                                                                                                               Deputy Clerk                                                        Date

                                                                                          PROOF OF SERVICE
This summons for                                                Caleb Scribner                                         was received by me on                                                     .
                                                   name of individual and title, if any                                                                                   date

 I personally served the summons on the individual at
on                                .                                                                                           place where served
                       date

   I left the summons at the individual’s residence or usual place of abode with                                                                                                      , a person
                                                                                                                                            name
of suitable age and discretion who resides there, on                                                              , and mailed a copy to the individual’s last known address.
                                                                                                date

   I served the summons on                                                                                                          , who is designated by law to accept service
                                                                                  name of individual
of process on behalf of                                                                                                                            on                                             .
                                                                                  name of organization                                                                    date

   I returned the summons unexecuted because                                                                                                                                                     .
   Other (specify)                                                                                                                                                                            .
       My fees are $                                            for travel and $                                      for services, for a total of $                                             .
I declare under the penalty of perjury that this information is true.
Date:
                                                                                                                                            Server’s signature

Additional information regarding attempted service, etc.:
                                                                                                                                        Server’s printed name and title



                                                                                                                                             Server’s address
